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By: Bruce H. Levitt (BL9302)
Attorneys for Abdullah I. Muhammad
________________________________________________________________
                  UNITED STATES BANKRUPTCY COURT
                      DISTRICT OF NEW JERSEY
                               :
In Re:                         : Chapter 13
                               :
     ABDULLAH I. MUHAMMAD,     : Case No.: 16-11164 (CMG)
                               :
                               : CERTIFICATION OF BRUCE H. LEVITT
               Debtor.         :
                               :
                               :

     Bruce H. Levitt hereby certifies as follows:

     1. I am an attorney at law of the State of New Jersey and

make this Certification based upon my personal knowledge.

     2. I have been attempting to communicate with my client for

the past several months. The client has continued to fail and

refuse to communicate with me.

     3. I cannot continue to represent this client without the

ability to communicate with him.

     4. Accordingly, I am respectfully requesting that the Court

enter the accompanying Order permitting my firm to withdraw as

counsel for the Debtor in this matter.

     I hereby certify that the foregoing statements made by me

are true. I understand that if any of the foregoing statements
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made by me are willfully false, I am subject to penalty of

perjury.

                                        /s/Bruce H. Levitt
                                        Bruce H. Levitt

Dated: October 31, 2019
